          Case 1:17-cv-00884-CKK Document 42 Filed 04/05/19 Page 1 of 6



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ASHTON WILKINS,
                                               Civil Case No. 17-884 (CKK)
 Plaintiff,

 v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, OWAIS AKHTAR,
 CAMERON REYNOLDS, A. WILLIS,
 Jr., FRANCIS MARTELLO, & AMINA
 COFFEY,

 Defendants.


      DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANTS’
              MOTION TO STRIKE PLAINTIFF’S STATEMENT
                    OF UNDISPUTED MATERIAL FACTS

        Defendants District of Columbia (“the District”), Officer Owais Akhtar, Officer Cameron

Reynolds, Officer Anthony Willis, Jr., Lt. Francis Martello, and Officer Amina Coffey, through

undersigned counsel submit this Reply in response to Plaintiff’s Opposition to Defendant’s

Motion to Strike Plaintiff’s Statement of Undisputed Material Facts, Dkt. 41.

                                                 REPLY

        Plaintiff’s Opposition to Defendants’ Motion to Strike fails to provide this Court with any

compelling reason to deny Defendants’ motion. As such, the Court should grant the motion and

strike Plaintiff’s Statement of Undisputed Material Facts, Dkt. 35.

I.      DEFENDANTS’ ATTEMPTED TO CONFER IN GOOD FAITH.

        Plaintiff’s first argument for why this Court should deny Defendants’ motion is that

Defendants failed to comply with LCvR 7(m), which imposes on the moving party an obligation

to confer in good faith with an opposing party regarding the relief sought prior to seeking court
          Case 1:17-cv-00884-CKK Document 42 Filed 04/05/19 Page 2 of 6



intervention. Defendants discharged this obligation. As an initial matter, the email exchange

quoted in Plaintiff’s opposition brief is actually the exchange that pertained to the LCvR 7(m)

consent request in Joseph Johnson v. District of Columbia, et al., Civil Case No. 17-883 (CKK).

The email exchange for this case, attached hereto as Exhibit A, likewise makes clear, however,

that counsel for the Defendants reached out to Plaintiff’s counsel on Friday, March 22, 2019,

three days before filing their motion.1 In doing so, counsel for the Defendants explained not only

the relief that would be sought in the motion, but the basis for seeking that relief: that Plaintiff’s

filing “contains paragraphs with multiple allegations of fact and contains extensive argument.”

Ex. A. This is a far cry from the conduct at issue in English v. Washington Metro. Area Transit

Auth., 323 F.R.D. 1, 25-26 (D.D.C. 2017), in which WMATA “simply state[ed] an objection

without elaborating further upon it or engaging in any meaningful dialogue . . . .” Here, the

emails show that counsel for Defendants did in fact make efforts to “engag[e] in . . . meaningful

dialogue . . . ,” id. at 26, and it is instead Plaintiff’s counsel who “intended to phone defendant’s

Counsel to discuss . . .” further but did not. Dkt. 41 at 3.

        Plaintiff’s further argument that Defendants have placed a burden on the court “to sift

through the remaining SMFs to ascertain whether they comply with Fed. R. Civ. P. 56 and LCvR

7(h) instead of attempting to confer with counsel about winnowing out any truly objectionable

SMFs[]” misapprehends the nature of Defendants’ motion. Dkt. 41 at 4. Defendants moved this

Court to strike Plaintiff’s Statement of Undisputed Material Facts in its entirety because they

determined, after reviewing the Statement, that it was so far afield of a proper statement of

material facts as to make a response effectively impossible. In articulating this to the Court,




1
 Plaintiff describes the length of time as “six business hours” because the email exchange
occurred on a Friday and the motion was filed Monday. See Dkt. 41 at 3.
          Case 1:17-cv-00884-CKK Document 42 Filed 04/05/19 Page 3 of 6



Defendants selected just a handful of the most egregious errors. Defendants have not asked the

Court to “sift through” the remaining facts to determine whether they comply; the motion seeks

that they all be struck because the wholesale lack of compliance is apparent from those that were

addressed directly.

       Lastly, Plaintiff proposes that even if this Court determines that Defendants conferred in

good faith it should nevertheless deny Defendants’ motion to strike without prejudice and “order

the parties to narrow the dispute by discussing the paragraphs the defendants believe are

problematical and give Mr. Junes [sic] an option to amend or defend them in a response.” Dkt.

41 at 4.2 Yet Plaintiff has already had an opportunity to amend – when this Court struck his

initial filing and ordered compliance with its scheduling and procedures order, see Feb. 21, 2019

Minute Order – and an opportunity to defend – in opposition to the pending motion to strike.

Because the delay caused by permitting further amendment would unduly prejudice these

Defendants, Plaintiff’s Statement of Undisputed Material Facts, Dkt. 35, should be stricken from

the record.

II.    PLAINTIFF MISUNDERSTANDS RULE 56.

       Plaintiff’s Opposition misapprehends Fed. R. Civ. P. 56(c)(2). In his Opposition,

Plaintiff argues that the proper method of responding to his failure to comply with the Court’s

Scheduling and Procedures Order, Dkt. 20, is not a motion to strike, but is instead to object to the

material. Dkt. 41 at 4. In support, Plaintiff cites to the language of Fed. R. Civ. P. 56(c)(2) and

to cases discussing the 2010 Amendments to the Rules of Civil Procedure. However, as these

cases – and Advisory Committee Notes – make clear, the Rule authorizes an objection on




2
 Plaintiff’s brief is disjointed. His argument regarding Defendants’ lack of good faith is
contained in Section I, yet this portion of his argument is in Section II.
          Case 1:17-cv-00884-CKK Document 42 Filed 04/05/19 Page 4 of 6



grounds that “a fact cannot be presented in a form that would be admissible in evidence,” Fed. R.

Civ. P. 56(c)(2); it does not deal with the situation where, as here, the manner in which the

“facts” are presented violates the Court’s procedural orders and effectively prevents Defendants

from responinge. Defendants’ motion has nothing to do with the admissibility of the evidence,

and Rule 56(c)(2) is therefore inapplicable.

III.   DEFENDANTS HAVE SATISFIED THEIR BURDEN.

       Plaintiff further argues that Defendants have failed to satisfy their burden on a motion to

strike. Dkt. 41 at 5-6. Defendants disagree. First, Plaintiff’s reliance on Barnes v. District of

Columbia, 289 F.R.D. 1, 6 (D.D.C. 2012) to set the prevailing standard regarding a motion to

strike a Statement of Material Facts is misplaced. Dkt. 41 at 5. Jackson v. Finnegan, Henderson,

Farabow, Garret & Dunner, 101 F.3d 145, 151 (D.C. Cir. 1996), makes clear that a court is well

within its discretion to strike a statement of material facts for “repeated failures to adhere to the

court’s scheduling order and . . . multiple violations of Rule [7(h)] . . . .” 101 F.3d at 153-54.

The court specifically noted that the opposing statement of material facts was “replete with

factual allegations not material to [plaintiff’s] substantive claims and repeatedly blend[ed]

factual assertions with legal argument.” Id. at 153. Like in Jackson, and as the Defendants’

motion points out, Plaintiff’s statement of material facts contains lengthy legal argument and

numerous factual assertions not material to the claims at issue in the lawsuit; it therefore

“undermines the purposes” of both LCvR 7(h) and the Court’s scheduling and procedures order

and must be stricken. See Jackson, 101 F.3d at 153-54.

       Second, Plaintiff’s argument that “defendants’ proposed motion . . . violates Fed. R. Civ.

P. 56 because it relies on a construction of the local rule which conflicts with Fed. R. Civ. P. 56,”

Dkt. 41 at 6, is without merit. While Plaintiff cites to Burke v. Gould, 286 F.3d 513 (D.C. Cir.
          Case 1:17-cv-00884-CKK Document 42 Filed 04/05/19 Page 5 of 6



2002), he fails to provide further explication, and it is difficult to discern the reasons why

Plaintiff believes the two rules come in conflict here. To the extent Plaintiff is arguing that

Defendants have moved the Court to disregard the record evidence for purposes of ruling on the

motion for summary judgment, Plaintiff is mistaken. Accordingly, Defendants’ Motion to Strike

should be granted.

IV.     WITH REGARDS TO SPECIFIC MATERIAL FACTS, DEFENDANTS RELY ON
        THEIR MOTION.

        The remainder of Plaintiff’s opposition addresses the specific material facts the

Defendants used in support of their Motion to Strike. The reasons favoring a motion to strike

were fully articulated in Defendants’ Motion and need not be repeated herein. Defendants

therefore rely on their earlier filing.

                                          CONCLUSION

        Wherefore, for the foregoing reasons, Defendants’ Motion to Strike Plaintiff’s Statement

of Undisputed Material Facts, Dkt. 40, should be granted.

DATE: April 5, 2019                            Respectfully submitted,

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Case 1:17-cv-00884-CKK Document 42 Filed 04/05/19 Page 6 of 6



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